    Case 1:22-cv-00400-TLA Document 45 Filed 09/09/22 Page 1 of 7 PageID #: 3917




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

    In re:
                                                         Chapter 11
                              1
    Zohar III, Corp., et al.,
                                                         Case No. 18-10512 (KBO)
                                  Debtors.
                                                         Jointly Administered
    LYNN TILTON, et al.,
                                  Appellants,
                    v.                                   Case No. 1:22-cv-00400 (TLA)
    MBIA INC., et al.,
                                  Appellees.

                                     NOTICE OF APPEAL

             NOTICE IS HEREBY GIVEN that Appellants Patriarch Partners VIII, LLC,

Patriarch Partners XIV, LLC, Patriarch Partners XV, LLC, Octaluna, LLC, Octaluna

II, LLC, Octaluna III, LLC, and Lynn Tilton (collectively, the “Appellants”) hereby

appeal to the United States Court of Appeals for the Third Circuit from the Order of

the United States District Court for the District of Delaware (Hon. Thomas L.

Ambro) dated August 11, 2022 (D.I. 44), affirming the Order on Defendants’

Motions to Dismiss the Amended Complaint of Lynn Tilton and the Patriarch &




1
      The Debtors, and, where applicable, the last four digits of each of their respective taxpayer
      identification numbers, are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059),
      Zohar CDO 2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar II 2005-1, Limited (8297),
      and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is c/o FTI Consulting, Inc.,
      1166 Avenue of the Americas, 15th Floor, New York, NY 10036.



57772/0001-43704045v1
 Case 1:22-cv-00400-TLA Document 45 Filed 09/09/22 Page 2 of 7 PageID #: 3918




Octaluna Entities for Equitable Subordination of the United States Bankruptcy

Court for the District of Delaware (Hon. Karen B. Owens) entered in the bankruptcy

case on March 25, 2022 (D.I. 1-1).

         PLEASE TAKE FURTHER NOTICE that the names of all parties to the

Order appealed from and the names, addresses, and telephone numbers of their

respective attorneys are as follows:

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                                        2
57772/0001-43704045v1
 Case 1:22-cv-00400-TLA Document 45 Filed 09/09/22 Page 3 of 7 PageID #: 3919




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                                      3
57772/0001-43704045v1
 Case 1:22-cv-00400-TLA Document 45 Filed 09/09/22 Page 4 of 7 PageID #: 3920




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                                      4
57772/0001-43704045v1
 Case 1:22-cv-00400-TLA Document 45 Filed 09/09/22 Page 5 of 7 PageID #: 3921




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                                      5
57772/0001-43704045v1
 Case 1:22-cv-00400-TLA Document 45 Filed 09/09/22 Page 6 of 7 PageID #: 3922




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                                      6
57772/0001-43704045v1
 Case 1:22-cv-00400-TLA Document 45 Filed 09/09/22 Page 7 of 7 PageID #: 3923




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                                      7
57772/0001-43704045v1
